          Case 1:18-cv-03062-RBW Document 51 Filed 09/29/23 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

DUANE JOSEPH JOHNSON,                          :
                                               :
                Plaintiff,                     :
        v.                                     :       Civil Action No. 18-cv-03062 (RBW)
                                               :
DISTRICT OF COLUMBIA, et al.,                  :
                                               :
                Defendants.                    :

                                               ORDER

        For the reasons to be set forth in the Memorandum Opinion to be issued by the Court

within the next sixty days, absent extraordinary circumstances, the Court will (1) grant in part,

deny without prejudice in part, and deny in part the defendants' motion to dismiss or

alternatively for summary judgment, and (2) grant the plaintiff’s motion for discovery with

respect to his surviving claims. Accordingly, it is hereby

        ORDERED that Defendants District of Columbia, Chaplain Jimmie Allen, and Reverend

Samuel Whittaker’s Motion to Dismiss the Complaint, or in the Alternative, for Partial Summary

Judgment, ECF No. 45, is GRANTED IN PART, DENIED WITHOUT PREJUDICE IN

PART, AND DENIED IN PART. It is further

        ORDERED that the plaintiff’s Opposition to Defendants’ Motion to Dismiss / Motion

for Summary Judgment or, in the Alternative, Motion for Discovery Under Rule 56(d), ECF

No. 48, is GRANTED. More specifically, the plaintiff’s motion for discovery under Rule 56(d)

is GRANTED as to the claims that survive dismissal. It is further

        ORDERED that the Clerk of the Court shall forthwith mail a copy of this Order to the

plaintiff’s address of record. It is further

                                                   1
           Case 1:18-cv-03062-RBW Document 51 Filed 09/29/23 Page 2 of 2




         ORDERED that this is not a final Order subject to appeal. 1

         SO ORDERED this 29th day of September, 2023.



                                                                          REGGIE B. WALTON
                                                                          United States District Judge




1
  To ensure that there is no confusion about the import of this Order, the Court notes for the benefit of the litigants
that this Order is not a “final decision” as that term is used in 28 U.S.C. § 1291 (2018). See St. Marks Place Hous.
Co. v. U.S. Dep’t of Hous. & Urban Dev., 610 F.3d 75, 79 (D.C. Cir. 2010) (“[A]ppeals may be taken (with certain
exceptions not relevant here) only from ‘final decisions.’”); id. at 80 (concluding that “district courts can choose
when to decide their cases,” and when an order states that it “shall not be deemed . . . final,” the Court should be
“take[n] . . . at its word”). Rather, this Order reflects the Court’s disposition of the motions, which was reached only
after carefully and thoughtfully considering the arguments of the parties as set forth in their submissions, conducting
a thorough review of the record, and drafting a Memorandum Opinion that explains the Court’s rationale in
appropriate detail. With only non-substantive tasks (e.g., reviewing citations to ensure conformity with the
Bluebook) remaining before the Memorandum Opinion can be released to the parties and the public, this matter no
longer requires this Court’s “judicial attention,” and therefore the Court finds it appropriate to issue this Order
expressing its disposition of the matter. See id. (questioning the “propriety” of resolving a motion which “still
require[s] judicial attention”).
                                                           2
